                                EXHIBIT "A"




Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 1 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 2 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 3 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 4 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 5 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 6 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 7 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 8 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 9 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 10 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 11 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 12 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 13 of 14
Case 20-81688-CRJ11 Doc 750-1 Filed 09/21/20 Entered 09/21/20 16:49:32 Desc
     Exhibit Exhibit A - Bushmaster Royalty Agreement re the ACR Page 14 of 14
